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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                               MEMORANDUM DECISION AND
                                                    ORDER DENYING DEFENDANT’S
                                                    MOTION TO ALTER JUDGMENT
                                                    WITHOUT PREJUDICE TO ITS
                                                    REFILING AS A § 2241 PETITION


                   vs.


 DAVID FINK,                                        Case No. 2:03-CR-933 TS
           Defendant.




       Defendant is serving a 41-month federal sentence. By his Motion to Alter

Judgment, Defendant challenges the manner in which the Bureau of Prisons has

calculated his credit for prior time served.

       The Court having considered Defendant’s Motion finds that it should have been

filed as a Petition under 28 U.S.C. § 2241, because it primarily alleges violations of due

process in the execution of the court-imposed sentence—specifically the Bureau of

Prison’s calculation of his credit for time served.1 Section 2241(a) provides that a


       1
       See McIntosh v. United States Parole Comm’n, 115 F.3d 809, 811 (10th Cir.
1997) (“Petitions under § 2241 are used to attack the execution of a sentence, . . . in
contrast to § 2254 habeas and § 2255 proceedings, which are used to collaterally

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“[w]rit[] of habeas corpus may be granted by [one of the federal courts] within their

respective jurisdictions.” Defendant is confined in Arizona. The Tenth Circuit has

clarified that “ . . . a petition under 28 U.S.C. § 2241 attacks the execution of a sentence

rather than its validity and must be filed in the district where the prisoner is confined.”2

The statute further provides that, if a petition is brought outside of the jurisdiction

“wherein the restraint complained of is had,” the Court “may transfer the application for

hearing and determination to the district court having jurisdiction to entertain it.” 28

U.S.C.§ 2241(b).

       In this case, Defendant has filed his request by Motion, rather than by a Petition

addressed to the district court in the jurisdiction where he is confined. Because it was

filed as a Motion rather than a Petition, Defendant has not paid the filing fee necessary

to file such a Petition, nor has he moved to proceed with a 2241 petition in forma

pauperis, and, therefore, there is no Petition to transfer. Accordingly, it is

       ORDERED that Defendant’s Motion to Alter Judgment (Docket No. 901) is

DENIED WITHOUT PREJUDICE to its refiling as a Petition under U.S.C. § 2241 in the

federal district court in the district where he is currently confined.




attack the validity of a conviction and sentence.”) and Cathcart v. U.S. Bureau of
Prisons, 211 F.3d 1277, 2000 WL 554547 (10th Cir. 2000) (affirming denial of §2241
petition challenging BOP’s refusal to credit time spent in federal custody to his federal
sentence, in addition to his state sentence).
       2
           Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996) (emphasis added).

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    DATED July 6, 2007.



                                 BY THE COURT:


                                 ___________________________________
                                 TED STEWART
                                 United States District Judge




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